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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


ABC CORPORATION I,
ABC CORPORATION II,                      Case No. 1:20-cv-4806

                  Plaintiffs,            Judge Thomas M. Durkin

     v.                                  Magistrate Judge Jeffrey Cole

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,

                  Defendants.



      MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO
              STRIKE PLAINTIFFS EXPERT REPORT
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        Plaintiffs Hangzhou Chic Intelligent Technology Co., Ltd. (“Chic”) and Unicorn Global,

Inc. (“Unicorn”, and collectively with Chic, “Plaintiffs”) hereby submit this opposition to

Defendants’ Gyroor-US, Gyroor, Urbanmax, Fengchi-US, HGSM, Gaodeshang-US, and

Gyroshoes (collectively, “Defendants”)1 Motion to Strike the Expert Report of Paul Hatch (Dkt.

646, “Motion”).

                                 PRELIMINARY STATEMENT

        The Motion challenges Plaintiffs’ submission of the Expert Declaration of Paul Hatch (Dkt.

637; “Hatch Declaration”) on the grounds that it is a “brand-new expert report” that presents “new

opinions” (Motion at 5, 8), yet Defendants never actually identify anything that Mr. Hatch has not

previously testified to in this case. In fact, it is uncontested that Mr. Hatch was previously disclosed

as an expert witness and submitted reports setting forth how Defendants’ Accused Products 2

infringed the Patents-in-Suit,3 as required by Federal Rule of Civil Procedure 26(e) (“Rule 26”).

Even a cursory comparison of the Hatch Declaration against at least two of his prior submissions

reveals that the substance of his infringement opinion has not changed and, to the extent there are



1
  The Motion was made on behalf of Defendant Gyroor-US and alleged “Third Party Respondents”
Gyroor, Urbanmax, Fengchi-US, HGSM, Gaodeshang-US, and Gyroshoes. Despite Defendants’
suggestion to the contrary, these interrelated parties remain defendants in this case. See ABC Corp.
I v. P’ship & Unincorporated Associations Identified on Schedule “A”, 51 F.4th 1365, 1377 (Fed.
Cir. 2022) (Dkt. 590) (vacating the order that granted Plaintiff’s motion to amend Schedule A only
“insofar as that order extended the 2020 Preliminary Injunction to new defendants.”).
2
  As defined in Plaintiff’s Memorandum in Opposition to Defendants’ Motion for Summary
Judgment, the “Accused Products” are “Gyroor A” (i.e., Gyroor T581 series and variants), “Gyroor
B” (i.e., Gyroor G2 series and variants), “Gyroor C” (i.e., Gyroor T580 series and variants),
“Gyroor D” (i.e., Gyroor G5 series and variants), and “Gyroor E” (i.e., Gyroor G11 series and
variants).
3
 The “Patents-in-Suit” are U.S. Design Patent No. D737,723 (“the D’723 Patent”); U.S. Design
Patent No. D738,256 (“the D’256 Patent”); U.S. Design Patent No. D784,195 (“the D’195
Patent”); and U.S. Design Patent No. D785,112 (“the D’112 Patent”).
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any differences, they are as to form in order to address the Federal Circuit decision, favoring a

patent-by-patent and product-by-product analysis of the Patents-in-Suit, issued after the close of

expert discovery. See ABC Corp. I v. P’ship & Unincorporated Associations Identified on

Schedule “A”, 52 F.4th 934, 938 (Fed. Cir. 2022). This is not the type of “information” potentially

precluded by Federal Rule of Civil Procedure 37(c)(1) (“Rule 37”). Defendants feigned claims of

surprise and prejudice simply fail because they cannot point to anything that is materially different

from Mr. Hatch’s earlier reports opining on Defendants’ infringement. Accordingly, the Motion

should be denied.

                                       LEGAL STANDARD

        Judges have significant discretion in supervising discovery and in declining to exclude

evidence. See Talbert v. City of Chicago, 236 F.R.D. 415, 423–24 (N.D. Ill. 2006). Notably, Rule

37 explicitly provides that “[i]f a party fails to provide information or identify a witness as required

by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply evidence

on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless”

(emphasis added). See NutraSweet Co. v. X-L Engg Co., 227 F.3d 776, 786 (7th Cir. 2000) (cited

in Motion at 4). The Court’s discretion in determining whether an alleged violation is justified or

harmless is guided by the following factors: “(1) the prejudice or surprise to the party against

whom the evidence is offered; (2) the ability of the party to cure the prejudice; (3) the likelihood

of disruption to the trial; and (4) the bad faith or willfulness involved in not disclosing the evidence

at an earlier date.” David v. Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir. 2003).




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                                           ARGUMENT

I.       THE HATCH DECLARATION OFFERS NO NEW OR CONTRADICTORY
         OPINIONS.

         Defendants base their Motion on the broad, misleading assertion that the Hatch Declaration

is a “brand-new expert report.” (Motion at 4.) It is indisputable, however, that the Hatch

Declaration provides no new information, and Mr. Hatch’s opinions, methods of analysis, and

conclusions have remained the same since the start—in the eyes of the hypothetical ordinary

observer familiar with the prior art, the overall visual appearance of the Accused Products is

substantially similar to that of the claimed designs of the Patents-in-Suit.

         Tellingly, Defendants fail to specify any differences between the Hatch Declaration and

his previous submissions, and do not—and cannot—even identify a single new opinion offered by

Mr. Hatch (because there are none). See Solaia Tech. LLC v. ArvinMeritor, Inc., 361 F. Supp. 2d

797, 810 (N.D. Ill. 2005) (declining to strike portions of declaration where defendant “paints with

too broad a brush” and fails to specify why it believes the portions constitute new opinions); Grady

v. Ill. Bell Telephone Co., No. 94 C 3115, 1996 WL 473657 at *5 n.5 (N.D. Ill. Aug.13, 1996)

(“[W]here a motion to strike is ‘too general in that it [does] not specify which part of the . . .

affidavit should be stricken and why,’ the motion need not be granted.”).

         Contrary to Defendants’ baseless assertions, the substance of the Hatch Declaration’s

infringement conclusion from prior reports is unaffected. In fact, simple comparisons of Mr.

Hatch’s reports reveal that the Hatch Declaration simply reproduces, verbatim, portions of

previous reports into a single standalone report for ease of reference:

         ⚫   The “Introduction” section of the Hatch Declaration mirrors the introductions from
             earlier reports. (Compare Hatch Decl. ¶¶ 1–3 with August 24, 2021 Expert Declaration
             of Paul Hatch at 2–3 (Dkt. 388; “2021 Hatch Decl.”) and August 15, 2022 Expert
             Report of Paul Hatch at 1 (attached as Exhibit A to the Declaration of Chandler E.
             Sturm (“Sturm Decl.”) submitted herewith; “2022 Hatch Report”).)



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       ⚫    The “Executive Summary” section mirrors the summaries from each of Hatch’s prior
            submissions, including his rebuttal reports to Defendants’ expert reports. (Compare
            Hatch Decl. ¶¶ 4–6 with 2021 Hatch Decl. at 3, 2022 Hatch Report at 1, September
            24, 2021 Paul Hatch Rebuttal to Lance Rake Declaration at 3 (Dkt. 429; “2021 Rake
            Rebuttal”), September 24, 2021 Paul Hatch Rebuttal to Jim Gandy Declaration at 3
            (Dkt. 430; “2021 Gandy Rebuttal”), September 12, 2022 Paul Hatch Rebuttal Report
            to Jim Gandy Expert Report at 1 (Sturm Decl., Ex. B; “2022 Gandy Rebuttal”), and
            September 12, 2022 Paul Hatch Rebuttal Report to Lance Rake Expert Report at 1
            (Sturm Decl., Ex. C; “2022 Rake Rebuttal”).)

       ⚫    The “Scope of Opinions” section is a combination of the “Background and
            Qualifications,” “Compensation and Prior Testimony,” and “Materials and
            Information Considered” sections in previous reports. (Compare Hatch Decl. ¶¶ 7–13
            with 2021 Hatch Decl. at 3–4 and 2022 Hatch Report at 1–2.)

       ⚫    The descriptions of the Patents-in-Suit also remain the same. (Compare Hatch Decl.
            ¶¶ 46–62 with 2021 Hatch Decl. at 8–16 and 2022 Hatch Report at 6–14.)

       ⚫    The analyses of Defendants’ experts’ reports in the Hatch Declaration are taken
            directly from earlier rebuttal reports of Mr. Hatch. (Compare Hatch Decl. ¶¶ 155–190
            with 2021 Rake Rebuttal at 8–20 and 2022 Rake Rebuttal at 6–17; compare also Hatch
            Decl. ¶¶ 191–217 with 2021 Gandy Rebuttal at 7–15 and 2022 Gandy Rebuttal at 5–
            13.)

       ⚫    Mr. Hatch’s conclusions, although broken out by patent and product, mirror those
            from prior reports. (Compare Hatch Decl. ¶¶ 218–19 with 2021 Hatch Decl. at 26–27
            and 2022 Hatch Report at 26.)

       Most significantly for assessing whether the Hatch Report contains any truly “new”

information, Mr. Hatch’s analysis and conclusions are based on the same legal standards observed

in previous reports, evidenced by the same legal guidelines outlined throughout each report.

(Compare Hatch Decl. ¶¶ 14–45 with 2021 Hatch Decl. at 5–8 and 2022 Hatch Report at 3–6.) As

a result, with the exception of the addition of a figure of U.S. Patent No. D739,906 (the “D’906

Patent”) and minor elaboration of differences between the Patents-in-Suit and the prior art, Mr.

Hatch’s analysis of the effect the prior art has on the scope of the Patents-in-Suit remains

substantively unchanged. (Compare Hatch Decl. ¶¶ 63–70 with 2021 Hatch Decl. at 16–19 and

2022 Hatch Report at 14–17.) In addition, Mr. Hatch details the same infringement analysis he has




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applied throughout this proceeding and compares each of the Patents-in-Suit with each of the

Accused Products and closest prior art to reach the same conclusions—“the claimed design of the

[Patents-in-Suit] [are] substantially the same as the visual impression presented by [the Accused

Products].” (Compare Hatch Decl. ¶¶ 90, 94, 98, 102, 106, 110, 114, 118, 122, 126, 130, 134, 138,

142, 146, 150, 154 (emphasis in original) with 2021 Hatch Decl. at 21–26 and 2022 Hatch Report

at 21–26; compare also Hatch Decl. ¶¶ 81–154 with 2021 Hatch Decl. at 20–26 and 2022 Hatch

Report at 19–26.)

       Accordingly, the Hatch Declaration does not provide any new information, analyses, or

opinions, and is not materially different than earlier reports submitted in this proceeding, thereby

precluding application of Rule 37(c)(1). The Hatch Declaration was designed to streamline

Plaintiffs’ opposition to Defendants latest summary judgment motion. It should not be excluded.

II.    THE SUBMISSION OF THE HATCH DECLARATION IS SUBSTANTIALLY
       JUSTIFIED AND HARMLESS.

       To the extent that Federal Rule of Civil Procedure 37 even applies, the submission of the

Hatch Declaration is substantially justified and harmless—(1) there is no prejudice to Defendants;

(2) neither the determination of Defendants’ motion for summary judgment nor trial is at risk of

delay; and (3) it is not the result of a “vile tactic[]” or bad faith as Defendants hyperbolically

contend (Motion at 1). See David v. Caterpillar, 324 F.3d at 857.

       First, the Hatch Declaration comes as no surprise to Defendants—it was provided in direct

response to the Federal Circuit’s preference for a patent-by-patent and product-by-product, only

identified after the close of expert discovery. See ABC Corp. I, 52 F.4th at 938; (see also Dkt. 635

at 9 n.6). While Defendants maintain that the submission of the Hatch Declaration it leaves “no

time for depositions” and that it would be “impossible for [Defendants’] expert to submit a new

rebuttal report with limited time and Mr. Hatch’s declaration is over 100 pages with new opinions”



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(Motion at 5, 8.), their assertions of prejudice are of no moment. Defendants gloss over the fact

that the Hatch Declaration is merely a compilation of earlier reports and rebuttal reports issued by

Hatch throughout this proceeding. Despite nuances in the explanation of the comparison of the

Patents-in-Suit, Accused Products, and prior art, Mr. Hatch’s methods of analysis and conclusions

on infringement have not changed. Defendants have already been afforded the opportunity to

depose and examine Hatch on the substance of the Hatch Declaration and Defendants’ experts

have already provided rebuttal reports to the same. Cf. Finwall v. City of Chicago, 239 F.R.D. 504

(N.D. Ill. 2006) (reports excluded where experts were not timely disclosed and multiple reports

produced for the first time at the close of discovery) (cited in Motion at 5).

        Second, Defendants’ assertion that the submission of the Hatch Declaration would cause

“undue delay in summary judgment briefing and the ultimate resolution of this case” is unavailing.

Briefing on Defendants’ summary judgment motion was completed on the same day Defendants

filed this Motion and no trial date has been set. See Sherrod v. Lingle, 223 F.3d 605, 613 (7th Cir.

2000) (holding that facts did not warrant striking untimely supplemental expert reports where

plaintiff timely disclosed the experts’ initial reports well before trial).

        Finally, the Hatch Declaration is far from a “vile tactic”—not only was it provided in direct

response to the Federal Circuit decision after the close of expert discovery, but also for ease of

reference in Plaintiffs’ opposition to Defendants’ pending summary judgment motion. Given the

motion practice throughout this proceeding, both Plaintiffs and Defendants have submitted and

exchanged multiple iterations of the declarations and reports of their experts. (See, e.g., Hatch

Decl.; 2021 Hatch Decl.; 2022 Hatch Report; Expert Declarations of Jim Gandy, Dkts. 377, 413-

3, 629-3; Expert Declarations of Lance Rake, Dkts. 376, 413-4.) The Hatch Declaration is simply

a synthesis of all relevant points that have already been made in Mr. Hatch’s prior reports




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combined in a single document. This Court should therefore deny Defendants’ Motion as the Hatch

Declaration is substantially justified and harmless.

III.   THE HATCH DECLARATION IS BASED ON RELIABLE METHODS.

       In a last-ditch effort to strike Mr. Hatch’s testimony, Defendants attack his method of

analysis and application of the “ordinary observer” standard. But Defendants wholly

mischaracterize Mr. Hatch’s analysis and jump to the conclusion that Mr. Hatch’s definition of an

ordinary observer as a “principal purchaser of hoverboards, i.e., a consumer user or the parent of

a user, each having little or no experience purchasing hoverboards” (Hatch Decl. ¶ 42) “only

suggests that the purchaser lacks knowledge of hoverboards and prior art.” (Motion at 10.) Mr.

Hatch’s explanation that the ordinary observer is a principal purchaser of hoverboards having

“little or no experience in purchasing hoverboards,” however, is not to say that the hypothetical

ordinary observer is unaware of the prior art, but simply refers to the level of attention that the

ordinary observer gives in the determination of substantial similarity. Egyptian Goddess Inc. v.

Swisa, Inc., 543 F.3d 665, 670 (Fed. Cir. 2008) (infringement occurs when an ordinary observer

“giving such attention as a purchaser usually gives, [deems] two designs are substantially the

same”); (compare Hatch Decl. ¶¶ 37–42 with 2021 Hatch Decl. at 7–8 and 2022 Hatch Report at

6). Contrary to Defendants’ assertion, it is clear from the Hatch Declaration and his earlier reports

that he “considered the appearance of the Accused Products and the claimed designs of each of the

Patents-in-Suit…and from the viewpoint of the ordinary observer who is familiar with the relevant

prior art” in his analysis. (Compare Hatch Decl. ¶ 4 with 2021 Hatch Decl. at 3 and 2022 Hatch

Report at 1; compare also Hatch Decl. ¶¶ 18–19, 37–39 with 2021 Hatch Decl. at 5, 7–8 and 2022

Hatch Report at 4, 6.) Mr. Hatch has applied the correct legal standard his declaration should not

be excluded on this basis.




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        The Motion’s contention that the Hatch Declaration should be excluded based on

supposedly contradictory deposition testimony similarly fails. (Motion at 11.) Defendants

mischaracterize Mr. Hatch’s statement that “a typical, ordinary observer would have knowledge

of the prior art, the relevant prior art” as distinct from his stated “understanding is that the consumer

in real life would not have knowledge of all of the prior art or all of the competing hoverboards.”

(Motion at 11, citing Dkt. 611-4 (“Tr. of Hatch”) at 123.) A complete reading of the transcript,

contrary to Defendants’ claims, reveals that these statements are taken completely out of context—

Mr. Hatch does testify that the hypothetical ordinary observer is considered to have knowledge of

the relevant prior art. (See Tr. of Hatch at 122:24–129:20 (“We look at the purchaser in real life to

understand the level of acuity they – the level of attention that they pay to viewing the product, but

the hypothetical ordinary observer is actually the operating construct, if you will, that we use for

the analysis. But we apply the level of attention from the – the purchaser to the hypothetical

ordinary observer. . . . But this hypothetical impression of the ordinary observer that we use is not

the purchaser from real life, but one who has that level of attention but is informed by prior art.”);

compare Hatch Decl. ¶¶ 37–42 with 2021 Hatch Decl. at 7–8 and 2022 Hatch Report at 6.)

Nonetheless, Defendants’ own experts did not even consider “all of the prior art” in their

analyses—Mr. Gandy only considered the D’906 Patent (see Dkt. 629-3 at ¶ 29; see also Hatch

Decl. ¶¶ 192–93; Dkt. 635 at 19 (citing Hearing Tr. at 138:11–16, 140:17–22)), and Mr. Rake only

considered an unrelated, later-filed patent (see Dkt. 629-4 at ¶¶ 51–76; see also Hatch Decl. ¶¶

155–57).

        In the end, Defendants’ arguments simply confirm that there is a battle of the experts—

both between Defendants’ two experts (Messrs. Gandy and Rake) and between Defendants’

experts and Mr. Hatch—that precludes summary judgment.




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                                       CONCLUSION

       In view of the foregoing, the submission of the Hatch Declaration is proper and the Motion

should be denied.



Dated: February 22, 2023                        Respectfully submitted,

                                               TARTER KRINSKY & DROGIN LLP
                                            By: /s/ Richard J.L. Lomuscio

 PALMERSHEIM & MATHEW LLP                          Richard J.L. Lomuscio
 Robert J. Palmersheim                             Mark Berkowitz
 Anand C. Mathew                                   Chandler E. Sturm (admitted pro hac vice)
 Timothy G. Parilla                                1350 Broadway
 401 N. Franklin Street, Suite 4S                   New York, NY 10018
 Chicago, IL 60654                                 Tel.: (212) 216-8000
 Tel.: (312) 319-1791                              Fax: (212) 216-8001
 E-mail: acm@thepmlawfirm.com                      E-mail: rlomuscio@tarterkrinsky.com
 E-mail: rjp@thepmlawfirm.com                      E-mail: mberkowitz@tarterkrinsky.com
 E-mail: tgp@thepmlawfirm.com                      E-mail: csturm@tarterkrinsky.com

                                                   Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 22, 2023, I electronically filed the above document with

the Clerk of Court using the CM/ECF system which will send electronic notification of such

filing(s) to all registered counsel.

                                             By: /s/ Richard J.L. Lomuscio
                                                     Richard J.L. Lomuscio
